                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-113

                                            No. 364A20

                                     Filed 24 September 2021

     IN THE MATTER OF: M.Y.P.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 19

     March 2020 by Judge Elizabeth T. Trosch in District Court, Mecklenburg County.

     This matter was calendared for argument in the Supreme Court on 19 August 2021

     but determined on the record and briefs without oral argument pursuant to Rule 30(f)

     of the North Carolina Rules of Appellate Procedure.


           Marc S. Gentile, Senior Associate County Attorney, for petitioner-appellee
           Mecklenburg County Department of Social Services, Youth and Family Services
           Division.

           Amanda S. Hawkins for appellee Guardian ad Litem.

           Benjamin J. Kull for respondent-appellant father.


           NEWBY, Chief Justice.

¶1         Respondent, the father of M.Y.P. (Max), appeals from the trial court’s order

     terminating his parental rights.1 After careful review, we affirm.

¶2         Max was born on 27 May 2016. His parents have a lengthy history with family

     court, with each parent seeking legal custody at different times.



           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
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¶3         On 2 October 2018, the Mecklenburg County Department of Social Services,

     Youth and Family Services Division (YFS) received a referral regarding Max. A

     neighbor had observed Max, who was then two years old, alone and crying on the

     balcony of his apartment. The Charlotte-Mecklenburg Police Department went to the

     residence, and after knocking several times, entered the unlocked apartment, and

     found Max alone inside the home. The apartment had no furniture in it other than a

     pack-n-play. The police and YFS attempted to contact respondent but were

     unsuccessful.

¶4         Accordingly, on 3 October 2018, YFS filed a petition, which it later amended,

     alleging that Max was neglected and dependent and obtained nonsecure custody.

     Respondent did not reappear until he arrived at a hospital on 5 October 2018 seeking

     treatment. Max was placed with the maternal grandfather and his girlfriend

     following a nonsecure custody hearing held on 10 October 2018.

¶5         After a hearing on 4 February 2019, on 8 March 2019, the trial court entered

     an order adjudicating Max neglected and dependent pursuant to respondent’s

     stipulations to allegations in the amended petition. At disposition, the trial court

     found that there had been no alleviation of the conditions which led to Max’s removal

     from respondent’s home, which included domestic violence, lack of stable housing,

     and mental health issues. The trial court specifically noted the history of domestic

     violence between respondent and Max’s mother, as well as between them and other
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     partners, which the trial court labeled as “volatile and violent.” Additionally,

     respondent had failed to provide the court with accurate information regarding his

     housing or work history. The trial court also found that respondent “seems to have

     an irrational view of the facts in this matter” and “[h]is view of the facts is not credible

     and may qualify as delusional.” The trial court further found that respondent had one

     visit with Max, was difficult to contact, and had not made any effort to establish or

     confirm visitation since 24 October 2018. Conversely, the court noted that Max had

     been placed with his siblings with the maternal grandfather, the placement had been

     positive, and Max was thriving. The trial court ordered the primary permanent plan

     for Max as reunification with a secondary plan of adoption. Additionally, the trial

     court ordered that Max remain in his placement with the maternal grandfather and

     granted respondent supervised visitation.

¶6          On 7 June 2019, the trial court entered a review order in which it found that

     respondent had: (1) outstanding orders for his arrest; (2) not visited with Max on a

     consistent basis; and (3) not demonstrated his ability to provide for Max’s basic needs.

     Additionally, the court noted that YFS no longer had valid contact information for

     respondent and last had contact with him on 21 March 2019. The trial court further

     found that respondent had “taken no meaningful steps within the last two months to

     ameliorate the removal conditions” and authorized YFS to file a petition to terminate
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     parental rights. The trial court also changed the primary permanent plan for Max to

     adoption and the secondary permanent plan to reunification.

¶7          The trial court held a permanency planning review hearing on 10 July 2019.

     In an order entered on 6 August 2019, the trial court found that respondent still had

     not engaged in any services nor alleviated the removal conditions. The trial court

     noted that respondent had only visited Max twice since 4 February 2019.

¶8          On 11 July 2019, YFS filed a motion in the cause to terminate respondent’s

     parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) (neglect) and (3) (failure to pay

     for the cost of care). On 19 March 2020, the trial court entered an order determining

     that grounds existed to terminate respondent’s parental rights pursuant to neglect.

     N.C.G.S. § 7B-1111(a)(1) (2019). The trial court further concluded it was in Max’s best

     interests that respondent’s parental rights be terminated. Accordingly, the trial court

     terminated respondent’s parental rights.2 Respondent appeals.

                                         I.       Adjudication

¶9          Respondent first argues that the trial court erred by terminating his parental

     rights based on neglect. Specifically, respondent contests several findings of fact,

     asserts that those findings do not support the trial court’s conclusions of law, and




            2 The trial court’s order also terminated the parental rights of Max’s mother, but she

     did not appeal.
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       argues that terminating his rights here would undermine the legislature’s intent in

       promulgating the neglect ground for termination cases.

¶ 10         A termination of parental rights proceeding consists of an adjudicatory stage

       and a dispositional stage. N.C.G.S. §§ 7B-1109, -1110 (2019); In re Montgomery, 311

       N.C. 101, 110, 316 S.E.2d 246, 252 (1984). At the adjudicatory stage, the petitioner

       bears the burden of proving by “clear, cogent, and convincing evidence” the existence

       of one or more grounds for termination under section 7B-1111(a) of our General

       Statutes. N.C.G.S. § 7B-1109(f) (2019). We review a trial court’s adjudication “to

       determine whether the findings are supported by clear, cogent and convincing

       evidence and the findings support the conclusions of law.” In re Montgomery, 311 N.C.

       at 111, 316 S.E.2d at 253 (citing In re Moore, 306 N.C. 394, 404, 293 S.E.2d 127, 133
       (1982)). “Findings of fact not challenged by respondent are deemed supported by

       competent evidence and are binding on appeal.” In re T.N.H., 372 N.C. 403, 407, 831

       S.E.2d 54, 58 (2019).

¶ 11         Here the trial court concluded that a ground existed to terminate respondent’s

       parental rights based on N.C.G.S. § 7B-1111(a)(1) (neglect). A trial court may

       terminate parental rights pursuant to N.C.G.S. § 7B-1111(a)(1) where it concludes

       the parent has neglected the juvenile within the meaning of N.C.G.S. § 7B-101.

       N.C.G.S. § 7B-1111(a)(1). A neglected juvenile is defined, in pertinent part, as a

       juvenile “whose parent . . . does not provide proper care, supervision, or discipline;
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       . . . or who lives in an environment injurious to the juvenile’s welfare . . . .” N.C.G.S.

       § 7B-101(15) (2019). We have recently explained that

                    “Termination of parental rights based upon this statutory
                    ground requires a showing of neglect at the time of the
                    termination hearing or, if the child has been separated
                    from the parent for a long period of time, there must be a
                    showing of . . . a likelihood of future neglect by the parent.”
                    “When determining whether such future neglect is likely,
                    the district court must consider evidence of changed
                    circumstances occurring between the period of past neglect
                    and the time of the termination hearing.”

       In re R.L.D., 375 N.C. 838, 841, 851 S.E.2d 17, 20 (2020) (first quoting In re D.L.W.,

       368 N.C. 835, 843, 788 S.E.2d 162, 167 (2013), then quoting In re Z.V.A., 373 N.C.

       207, 212, 835 S.E.2d 425, 430 (2019)).

¶ 12         In support of its conclusion as to N.C.G.S. § 7B-1111(a)(1), the trial court made

       the following findings of fact:

                    22. On October 2, 2018 at approximately 10:20 pm, YFS
                    received a referral alleging that the juvenile had been left
                    alone at his residence and had been in and out of the
                    apartment residence crying for the Respondent Father.

                    23. Law enforcement had been called to the Respondent
                    Father’s residence approximately 40 minutes before YFS
                    was called. When officers arrived, they knocked on the door
                    several times, but no one answered. Because the child was
                    so young, the doorknob was checked and it was unlocked so
                    officers entered. The child was found alone and without any
                    supervision. The only furniture in the residence was a
                    pack-n-play. There was a letter addressed to the
                    Respondent Father, but a different address was listed.
                    Officers knocked on neighbors’ doors but no one knew the
                    Respondent Father. The telephone numbers that law
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enforcement found for the Respondent Father were
disconnected or were no longer in service so the juvenile
was transported to a regional substation.

24. The juvenile was left alone without adult supervision
since at least 8:00 pm on October 2, 2018. The Respondent
Father was unavailable to provide any care or supervision
until Friday, October 5, 2018. During the nonsecure
custody hearing for this juvenile, the Respondent Father
[sic] testimony was inconsistent and mostly incoherent. In
sum, he claimed that [Max’s mother] kidnapped him in the
evening hours of October 2, 2018 and then held him
hostage and assaulted him repeatedly until October 5,
2018 when he sought treatment at a local hospital. [Max’s
mother] has been charged criminally as a result of this
allegation, but she has not been seen or heard from since
October 5, 2018 and her charges remain pending.

25. As for the lack of furniture in the apartment where the
juvenile was found, the Respondent Father and the
juvenile had been living there for weeks. He claims that
furniture was being delivered. He and [his wife] were
married at this time, but he had not lived with her for at
least three years though he still depended on her for
support.

26. Prior to the filing of the juvenile petition, [respondent
and Max] lived together in at least six different residences.

....

28. [Max] was adjudicated neglected and dependent on
February 4, 2019. [Respondent] was present during the
adjudication. The dispositional hearing occurred
immediately after the juvenile was adjudicated.

29. During disposition, the [c]ourt found that issues of
mental illness, domestic violence, inadequate and unstable
housing and substance abuse were all conditions that led
to the aforesaid neglect adjudication. The Respondent
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Father was awarded a minimum of biweekly supervised
visitation.

30. Between the dispositional hearing and the First Review
Hearing (on April 29, 2019), Respondent Father visited
with the juvenile only twice and during a two-month
stretch within this review period he contacted YFS only
once. By this First Review Hearing, which he did not
attend, he had not taken any steps to demonstrate that he
was making any progress on alleviating any of the removal
conditions. During this April hearing, this [c]ourt adopted
the Respondent Father’s case plan which called for him to
be screened by the FIRST program which screens for needs
in the areas of mental health, substance abuse, and
domestic violence and to then comply with all
recommendations, sign appropriate releases for any
services, and to demonstrate that he can meet the basic
needs of himself and the juvenile.

31. The [c]ourt conducted a Permanency Planning Hearing
(PPH) on July 10, 2019 which the Respondent Father
attended. Between the aforesaid April hearing and the
PPH, Respondent Father did not have any visitation with
the juvenile.

32. With respect to the Respondent Father’s involvement
with FIRST since the filing of the juvenile petition, he was
initially referred there in January 2019. He completed
paperwork at that time and submitted a urine sample that
was positive for alcohol and marijuana. On or about July
21, 2019, he provided another marijuana-positive urine
sample. The Respondent Father eventually submitted to
the assessment on July 31, 2019. Needs were identified in
the areas of substance abuse and domestic violence.
Respondent Father was referred for a substance abuse
assessment with Anuvia and for a domestic violence
assessment with Community Support Services. On October
17, 2019, he provided a urine sample that was positive for
cocaine and marijuana. A follow up appointment was
requested after the October sample was received, but
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Respondent Father never returned. Anuvia’s assessment
recommended that he complete a 40-hour outpatient
program, but he never started the program.

33. Respondent Father claimed to the forensic evaluator
. . . that he had only occasionally consumed alcohol since he
moved back from California. For this same time frame, he
claimed that he had not used any illegal drugs. He lived in
California between August 2017 and February 2018. The
drug screen results discussed above demonstrate his
testimony in this regard was not accurate.

34. Overall, the Respondent Father has provided
inconsistent information to the [c]ourt, the forensic
evaluator, and YFS. Assessments of his emotional and
behavioral functioning completed as part of the Personality
Assessment Inventory were uninterpretable due to his
scores on the validity scales. The pattern of responses
suggested a significant level of defensiveness. His
responses also reflected a considerable distortion and
minimization of difficulties. It was this personality profile
and behavioral approach to issues that has led to the
Respondent Father’s failure to acknowledge any problems
that impact on his ability to provide adequate care and
supervision to the juvenile or take any action to address his
noted problems.

35. As of the date of this TPR proceeding, Respondent
Father had not initiated any services to address issues
related to substance abuse or domestic violence so he has
made no progress in alleviating either condition. He
maintained that he resides in the apartment where the
juvenile was found unattended on October 2, 2019. He has
never made that residence available for inspection to
determine whether it is structurally safe or otherwise
appropriate for the juvenile.

36. The Respondent Father testified with clarity and
certainty about events and circumstances of the custody
dispute with [Max’s mother] (e.g. the procedural history of
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                    the family court proceedings), his prior living
                    arrangements, and his work history. However, he offered
                    the effects of a traumatic brain injury to excuse or explain
                    his absence from his son’s life since he entered YFS
                    nonsecure custody, his failure to consistently visit with the
                    child during that same time, or otherwise to engage in
                    services to alleviate the injurious conditions that led to
                    YFS obtaining nonsecure custody.

                    ....

                    38. . . . . [Respondent] has had only sporadic contact with
                    [Max] since [Max] entered YFS nonsecure custody. He has
                    not engaged in or remedied any removal conditions and his
                    residence has not been confirmed. He is unable to provide
                    proper care and supervision within a reasonable period of
                    time.

                    39. Due to [respondent’s] failure . . . to engage in any
                    services or to establish that [he] can provide proper care
                    and supervision [of Max], YFS cannot recommend that
                    [Max] be returned [to his care]. Consequently, multiple
                    barriers to reunification are still present, [Max] remains in
                    YFS nonsecure custody, and there is a high probability of
                    the repetition of neglect.

¶ 13         We first consider respondent’s challenges to findings of fact 25, 29, and 31.

       Respondent contends that in finding of fact 25, the following portions of the finding

       were unsupported by the evidence: that he had been living “for weeks” in the

       apartment where Max was found; that he “claimed that furniture was being

       delivered” for the apartment; and that he depended on his then wife for support. We

       agree. Accordingly, we disregard these portions of finding of fact 25. See In re S.M.,
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       375 N.C. 673, 684, 850 S.E.2d 292, 302 (2020) (disregarding findings of fact that are

       unsupported by clear, cogent, and convincing evidence).

¶ 14         Respondent next contends that finding of fact 29 incorrectly states that during

       disposition, the trial court found that substance abuse was one of the conditions which

       led to the adjudication of neglect. While the dispositional order states that respondent

       “seems to have a substance abuse history,” respondent is correct that the trial court

       only explicitly listed “domestic violence,” “stable housing,” and “mental health” to be

       “the problems which led to adjudication and must be resolved to achieve

       reunification.” Therefore, we disregard this portion of finding of fact 29 to the extent

       it was considered as a problem that led to adjudication. We note, however, that

       respondent does not challenge finding of fact 32, which states that respondent’s

       assessment in July of 2019 identified needs “in the area[ ] of substance abuse.” As

       such, the fact that respondent had a history of substance abuse is a proper

       consideration when determining whether the trial court properly terminated

       respondent’s rights.

¶ 15         Respondent next argues that finding of fact 31 incorrectly states that he did

       not visit with Max between 29 April and 10 July 2019. We agree. A social worker

       testified that respondent visited Max on 7 June 2019. Therefore, we disregard this

       portion of the trial court’s finding of fact since respondent had a visit with the child

       during this four-month period.
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¶ 16         Regardless of our conclusion that the above findings of fact are unsupported,

       such error is harmless as the remaining findings in the trial court’s order still support

       its conclusion that respondent’s rights were subject to termination based on neglect.

       The trial court found that Max was adjudicated neglected on 4 February 2019.

       Notably, respondent stipulated to the findings of fact supporting the adjudication of

       neglect and did not appeal from the trial court’s order. This Court has repeatedly

       stated that “[w]hen determining whether a child is neglected, the circumstances and

       conditions surrounding the child are what matters, not the fault or culpability of the

       parent.” In re Z.K., 375 N.C. 370, 373, 847 S.E.2d 746, 748–49 (2020); see also In re

       S.D., 374 N.C. 67, 75, 839 S.E.2d 315, 322 (2020) (“[T]here is no requirement that the

       parent whose rights are subject to termination on the grounds of neglect be

       responsible for the prior adjudication of neglect.”); In re J.M.J.-J., 374 N.C. 553, 564,

       843 S.E.2d 94, 104 (2020) (rejecting the respondent’s argument “that the trial court’s

       conclusion of neglect was erroneous because he was not responsible for the conditions

       that resulted in [his daughter’s] placement in DSS custody”). Consequently, based

       upon its finding that there had been a prior adjudication of neglect, we conclude the

       trial court’s findings were sufficient to support its conclusion that Max was previously

       neglected.3



             3 Respondent also challenges findings of fact 9–14, 17, and 19 as being unsupported

       by the evidence. These findings of fact concern events between October 2016 and October
       2017. They detail respondent’s relationship with Max’s mother, claims of substance abuse by
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¶ 17          Respondent next argues that the trial court’s determination that there was a

       likelihood of future neglect was erroneously based on his failure to comply with his

       case plan. Respondent asserts that allowing termination under N.C.G.S.

       § 7B-1111(a)(1) based on a parent’s non-compliance with his case plan would rob the

       parent of the important safeguards provided by N.C.G.S. § 7B-1111(a)(2), which

       would have afforded him a full twelve months to show improvement. Again,

       respondent’s argument is unpersuasive.

¶ 18          This Court has stated that “[a] parent’s failure to make progress in completing

       a case plan is indicative of a likelihood of future neglect.” In re M.A., 374 N.C. 865,

       870, 844 S.E.2d 916, 921 (2020) (quoting In re M.J.S.M., 257 N.C. App. 633, 637, 810

       S.E.2d 370, 373 (2018)); see also In re W.K., 376 N.C. 269, 278–79, 852 S.E.2d 83, 91

       (2020) (noting that “[b]ased on respondent-father’s failure to follow his case plan and

       the trial court’s orders and his continued abuse of controlled substances, the trial

       court found that there was a likelihood the children would be neglected if they were

       returned to his care”).


       respondent and improper care and supervision of Max, various custody orders entered
       concerning Max, and a motion for contempt filed by respondent against Max’s mother and
       her purging of contempt. We decline, however, to review these findings of fact. These findings
       of fact all concern events and allegations that were unrelated to and preceded the claims
       which led to the filing of the juvenile petition and the adjudication of Max as a neglected
       juvenile. Consequently, because they are not necessary to the trial court’s determination that
       respondent previously neglected Max, we need not review them. See In re T.N.H., 372 N.C.
       at 407, 831 S.E.2d at 58–59 (“[W]e review only those findings necessary to support the trial
       court’s determination that grounds existed to terminate respondent’s parental rights.” (citing
       In re Moore, 306 N.C. at 404, 293 S.E.2d at 133)).
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¶ 19         Here the trial court’s unchallenged findings of fact demonstrate that mental

       illness, domestic violence, and unstable housing were conditions the trial court

       identified which led to Max’s removal from respondent’s custody and the adjudication

       of neglect. To address these issues, the trial court adopted respondent’s case plan,

       which required him to be screened for needs in these areas and to comply with all

       recommendations. Respondent submitted to the screening, which identified a need in

       the area of domestic violence. The trial court found, however, that respondent failed

       to initiate any services to address domestic violence and made no progress in

       ameliorating this issue. In addition to those findings regarding respondent’s failure

       to address domestic violence concerns, the trial court found that, consistent with

       respondent’s prior issues with unstable housing, YFS was unable to confirm

       respondent’s residence.

¶ 20         Furthermore, though awarded visitation, respondent failed to consistently

       visit with Max. Additionally, the trial court’s determination that there was a

       likelihood of future neglect did not rest solely on respondent’s failure to complete his

       case plan. For example, substance abuse was also identified as an area of need for

       services, and the trial court could properly conclude that failure to address this issue

       could lead to a repetition of neglect. See In re D.L.A.D., 375 N.C. 565, 572, 849 S.E.2d

       811, 817 (2020) (stating that “a substance abuse problem that likely went untreated

       could inhibit a parent’s capability or willingness to consistently provide adequate care
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       to a child” and thus would support a determination that neglect would likely repeat

       in the future). The trial court found that during the relevant periods of time during

       this proceeding, respondent twice tested positive for marijuana, tested positive once

       for cocaine, and failed to begin a recommended forty-hour outpatient substance abuse

       program. Thus, based on respondent’s failures to address all of these issues, the trial

       court properly determined that there was a high probability of repetition of neglect

       should Max be returned to his father’s care and custody.

¶ 21         Notably, though respondent disputes the trial court’s assessment of his

       culpability, i.e., whether he was responsible for the neglect, it was within the trial

       court’s authority to pass on respondent’s credibility. Having interacted with

       respondent throughout the proceeding, the trial court was in the best position to

       determine respondent’s credibility regarding his culpability as it relates to neglect.

       See In re C.A.H., 375 N.C. 750, 759, 850 S.E.2d 921, 927 (2020) (noting that the trial

       court, given its unique position, is the proper entity to make credibility

       determinations and thus appellate courts should not reweigh such determinations).

       Therefore, the trial court’s remaining findings of fact support its conclusion of law

       that a ground existed to terminate respondent’s parental rights pursuant to N.C.G.S.

       § 7B-1111(a)(1). Accordingly, we affirm the trial court’s determination that a ground

       existed to terminate respondent’s parental rights based on neglect.
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                                          II.      Disposition

¶ 22         We next consider respondent’s arguments regarding disposition. If the trial

       court finds at least one ground to terminate parental rights under N.C.G.S.

       § 7B-1111(a), it proceeds to the dispositional stage where it must “determine whether

       terminating the parent’s rights is in the juvenile’s best interest” based on the

       following factors:

                    (1) The age of the juvenile.

                    (2) The likelihood of adoption of the juvenile.

                    (3) Whether the termination of parental rights will aid in
                        the accomplishment of the permanent plan for the
                        juvenile.

                    (4) The bond between the juvenile and the parent.

                    (5) The quality of the relationship between the juvenile and
                        the proposed adoptive parent, guardian, custodian, or
                        other permanent placement.

                    (6) Any relevant consideration.

       N.C.G.S. § 7B-1110(a) (2019).

¶ 23         Respondent contends the trial court committed reversible error when it

       prevented him from testifying about his concerns regarding Max being placed with

       the maternal grandfather. At the termination hearing, respondent began testifying

       that before Max was born, the following events occurred:

                    [Max’s mother] called me ranting and raving, saying that
                    [the maternal grandfather] was yelling and being
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                    belligerent. But when I was on the phone with him -- or
                    with her, I guess he whipped out his penis and peed on the
                    door. She told me to get over there. I left my apartment at
                    --

       DSS’s attorney objected to respondent’s testimony and the trial court sustained the

       objection, noting that the allegation about the maternal grandfather’s suitability as

       a placement for Max had already been litigated and resolved.

¶ 24         Respondent asserts that the trial court’s exclusion of his testimony was based

       on the doctrine of collateral estoppel. Respondent contends that the trial court

       misapplied the doctrine because there was no prior order in the case regarding the

       incident about which he sought to testify. Respondent argues that the exclusion of

       the testimony was prejudicial because it directly undermined its determination of

       Max’s best interests. We are not persuaded.

¶ 25         Importantly, to preserve an argument concerning the exclusion of evidence, a

       party is required to make an offer of proof in accordance with N.C.G.S. § 8C-1, Rule

       103(a)(2). State v. Atkins, 349 N.C. 62, 79, 505 S.E.2d 97, 108 (1998). This Court has

       stated:

                    [W]e would hold that, whether an objection be to the
                    admissibility of testimony or to the competency of a witness
                    to give that, or any, testimony, the significance of the
                    excluded evidence must be made to appear in the record if
                    the matter is to be heard on review. Unless the significance
                    of the evidence is obvious from the record, counsel offering
                    the evidence must make a specific offer of what he expects
                    to prove by the answer of the witness.
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       Currence v. Hardin, 296 N.C. 95, 99–100, 249 S.E.2d 387, 390 (1978). Here

       respondent failed to make an offer of proof regarding the excluded testimony and the

       substance of the excluded testimony regarding the maternal grandfather is not

       obvious from the record.

¶ 26         Furthermore, even assuming that this argument was preserved for appeal, we

       would decline to find that the trial court abused its discretion by curtailing

       respondent’s testimony. N.C.G.S. § 7B-1110(a) provides that at the dispositional

       hearing, the trial court “may consider any evidence, including hearsay evidence as

       defined in G.S. 8C-1, Rule 801, that the court finds to be relevant, reliable, and

       necessary to determine the best interests of the juvenile.” N.C.G.S. § 7B-1110(a)

       (emphases added). Additionally, this Court has stated that

                    during the adjudication stage of a termination proceeding,
                    the trial court must apply the provisions of the North
                    Carolina Rules of Evidence that apply in all civil cases.
                    During the dispositional stage, conversely, the trial court
                    retains significantly more discretion in its receipt of
                    evidence and may admit any evidence that it considers to be
                    relevant, reliable, and necessary in its inquiry into the
                    child’s best interests[.]

       In re R.D., 376 N.C. 244, 250–51, 852 S.E.2d 117, 124 (2020) (emphasis added).

¶ 27         Notably, here the same trial judge who presided over the termination hearing

       had presided over Max’s case since the filing of the initial petition in October 2018.

       Furthermore, though respondent’s testimony was curtailed, some of his concerns

       regarding the maternal grandfather were described in his testimony. Importantly,
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       the trial court had previously heard the concerns regarding the maternal

       grandfather’s fitness and determined they were without merit. Given the wide

       discretion afforded the trial court in making evidentiary rulings during the

       dispositional hearing, even assuming that the issue had been preserved for appellate

       review, we would conclude the trial court did not abuse its discretion by excluding

       further testimony from respondent on this issue. See id. at 253, 852 S.E.2d at 126

       (stating that N.C.G.S. § 7B-1110 “gives the trial court broad discretion regarding the

       receipt of evidence in its quest to determine the best interests of the child under the

       particular circumstances of the case”).

¶ 28         Respondent next argues that the trial court applied the wrong evidentiary

       standard when deciding whether it was in Max’s best interests to terminate his

       parental rights. Specifically, respondent claims that the trial court applied the clear,

       cogent, and convincing evidentiary standard that is required for adjudicatory

       findings. Respondent argues that the failure to apply the correct standard was

       necessarily prejudicial.

¶ 29         At the adjudication stage, the burden “shall be upon the petitioner or movant

       and all findings of fact shall be based on clear, cogent, and convincing evidence[,]”

       N.C.G.S. § 7B-1109(f) (2019), whereas “no burden of proof should be imposed upon

       either party at the dispositional stage,” In re R.D., 376 N.C. at 256, 852 S.E.2d at 127.

       A trial court is not required to bifurcate the adjudicatory and dispositional hearing,
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and the evidence from both stages may be intertwined. See In re S.M.M., 374 N.C.

911, 915, 845 S.E.2d 8, 12 (2020) (“Although the dispositional evidence was

intertwined with adjudicatory evidence, a trial court is not required to bifurcate the

hearing into two distinct stages.”). The trial court must still apply the correct

standard of proof at each stage of the proceedings. See In re R.B.B., 187 N.C. App.

639, 643–44, 654 S.E.2d 514, 518 (2007) (stating that a trial court may combine the

adjudicatory and dispositional stages into one hearing so long as it applies the correct

evidentiary standard to each stage), disc. rev. denied, 362 N.C. 235, 659 S.E.2d 738
(2008). Nevertheless, this Court has recognized that even an incorrect recitation of

the standard of proof may not constitute reversible error where it is not prejudicial.

See In re L.E.W., 375 N.C. 124, 128, 846 S.E.2d 460, 465 (2020) (concluding that the

trial court’s incorrect statement that it applied a clear, cogent, and convincing

evidentiary standard to review a permanency planning order worked in the

respondent’s favor as it required DSS to present stronger proof than actually

required, thus rendering any error harmless); see also In re A.J.A.-D., 269 N.C. App.

677, 837 S.E.2d 483 (2020) (noting that the trial court’s improper designation of the

“clear, cogent, and convincing” standard of proof to its dispositional findings was

harmless error since it worked to benefit the respondent by requiring DSS to meet a

higher burden than would normally apply).
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¶ 30          Here with respondent’s consent, the trial court consolidated the adjudicatory

       and dispositional hearings. In its written order, the trial court noted that it made its

       findings of fact by “clear, cogent, and convincing evidence.” The trial court did not,

       however, state in open court or in its order that it recognized that there was no burden

       of proof applicable to the best interests determination at the dispositional stage.

¶ 31          Despite the trial court’s failure to state the different evidentiary standards

       applied to each portion of the proceeding, the trial court noted that it determined that

       terminating respondent’s rights was in the child’s best interests. It did so after

       assessing each factor listed in N.C.G.S. § 7B-1110, finding that:

                     38. While [respondent] did appear to have a bond when he
                     visited with [Max], it was not a particularly strong
                     bond. . . .4

                     ....

                     40. That the goal of the case is adoption.

              4 Respondent also challenges as being unsupported by clear, cogent, and convincing

       evidence the portion of finding 38 which stated that “[w]hile [respondent] did appear to have
       a bond when he visited with [Max], it was not a particularly strong bond.” Notably, this
       finding of fact concerns the trial court’s determination of the child’s best interests under
       N.C.G.S. § 7B-1110(a) and was not necessary to the trial court’s conclusion that a ground
       existed to terminate respondent’s parental rights.
               We review this argument as a challenge to one of the trial court’s dispositional
       findings. Respondent notes that there was testimony in the record that respondent interacted
       appropriately with Max and that their visits were positive. Notably, this evidence that
       respondent cites does not concern the strength of the bond between respondent and Max.
       Importantly, the record contains evidence that the bond between respondent and Max could
       not be described as a parent/child bond due to, inter alia, the infrequency of respondent’s
       visits and his general lack of effort. Thus, there is competent evidence in the record that
       supports the trial court’s finding here.
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                    41. [Max] resides with his maternal grandfather . . . . In
                    that home, [Max’s] two older siblings also reside along with
                    [the maternal grandfather’s] paramour . . . . That home is
                    a loving, caring, stable, and potentially adoptive home. The
                    likelihood of adoption is very high. Terminating
                    [respondent’s] parental rights will aid in the
                    accomplishment of the permanent plan of adoption. [Max]
                    cannot be adopted unless [respondent] consent[s] to an
                    adoption or [his] parental rights are terminated. During
                    observations of [Max] in [the maternal grandfather and his
                    paramour’s] residence, he appears happy and very
                    attached to everyone who resides there. Terminating
                    [respondent’s] parental rights is in the child’s best interest.

¶ 32         Therefore, it is clear that the trial court understood what it must consider when

       determining the best interests of the child. Moreover, even if the trial court applied

       the wrong evidentiary standard, respondent has not shown he was prejudiced by the

       trial court’s failure to articulate the lower standard employed for the dispositional

       phase. Applying a “clear, cogent, and convincing” standard to the dispositional phase

       here meant that the trial court would have required YFS to overcome a heightened

       standard to show that terminating respondent’s rights was in the child’s best

       interests. See In re L.E.W., 375 N.C. at 128, 846 S.E.2d at 465. Thus, respondent’s

       argument is overruled.

¶ 33         As such, we affirm the trial court’s order terminating respondent’s parental

       rights.

             AFFIRMED.
